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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )       CRIMINAL ACTION NO.
     v.                                  )          2:17cr131-MHT
                                         )               (WO)
ROBERT JOHN KELLY                        )

                           OPINION AND ORDER

    The government has requested an evaluation by the

Bureau     of   Prisons        (BOP)      of    defendant      Robert     John

Kelly’s     mental        health         and     competency       prior     to

sentencing.        Kelly       has   a       lengthy    history   of    severe

substance       abuse     and    serious         mental     illness.        He

reportedly      has     been     abusing        drugs    since    his   early

teens.      Following       his      arrest       in    July   2017,    Kelly

reported    using       heroin    daily.         He     reportedly     suffers

from depression and schizophrenia, and has attempted

suicide on three occasions, including recently.                          While

out on pre-trial release in July 2017, Kelly completed

an in-patient substance abuse treatment program, but

the day following his completion of the program, he was
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hospitalized           after     overdosing          on        cough     and     cold

medicine.         Shortly        thereafter,      his         bond     was   revoked

after he admitted to smoking methamphetamine.

      Given      the    current       psychiatric         understanding          that

drug addiction is a disease, albeit a mental one, this

court has held that a defendant who suffers from a drug

addiction should be properly treated as having a mental

disease     or    illness.            United    States          v.     Mosley,      No.

1:10cr118, 2017 WL 4230221 (M.D. Ala. Sept. 25, 2017)

(Thompson,        J.).           Accordingly,         where          there     is     a

reasonable       basis      to    believe      that       a    defendant’s       drug

addiction contributed to the conduct underlying his or

her conviction, the court should order a mental-health

evaluation.            Where,        as   here,      the        substance      abuse

co-occurs with serious mental illness, the need for an

evaluation is perhaps even greater.                           Such an evaluation

is    necessary        to      aid    the     court       in     fashioning         an

appropriate sentence, by helping to determine (1) how a

defendant’s        substance-abuse             and        any        other     mental

disorders may affect his or her culpability for the



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offense conduct; and (2) what type of treatment, if

any,     the    defendant     should      receive   during    supervised

release.          The      mental-health     recommendation        should,

therefore, focus on these dual, overlapping issues of

culpability          and     treatment:      the     role,       if        any,

defendant's       mental     disorder(s)     played     in   his      or   her

charged conduct, and what treatment is recommended for

defendant's disorders in light of his or her individual

characteristics and history.

       Kelly is facing punishment for mail fraud and bank

fraud, and there is reason to believe that his criminal

conduct was impacted by his drug addiction and possibly

his     other    mental      disorders.     Further,     while     Kelly’s

mental health was evaluated in the past, he has never

received        an      in-patient,       longitudinal       assessment.

Finally, the need to transfer Kelly to an in-patient

setting is urgent because although he was prescribed

and taking medication for depression and schizophrenia

for the past three or four months, he has not received




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any of his medication since being incarcerated at the

county jail earlier this month.

    18 U.S.C. § 3552(b) authorizes the court to order

that the study be done by the BOP upon the finding of a

“compelling    reason”     or    where       there    are   no    adequate

professional resources available in the local community

to perform the study.           In this case, the court seeks a

comprehensive,         longitudinal           evaluation         of     the

defendant’s mental health, including whether he has any

co-occurring     mental     illnesses         in     addition     to    his

substance     abuse.       There       are    no     locally     available

resources that could provide such an evaluation in the

jail where Kelly is housed (or in any other local jail

for that matter).         Such an extended and comprehensive

evaluation      is     simply      not        feasible      given       the

restrictions      on    access     to        prisoners      in    a    jail

environment.     Furthermore, releasing Kelly from jail in

order to obtain such an evaluation in the community is

not an option due to the high risk that he would begin

using drugs again.



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    The parties have also asked for an evaluation of

whether Kelly is competent today and whether he was

competent at the time of the offense.                           While the court

does not have serious concerns about those issues, the

court    finds       that        it    would       be    sensible          to       obtain

verification of his competence in the course of the

comprehensive evaluation the court is already ordering.

    Kelly      has    no     objection          to      the    motion       or      being

evaluated.     In     fact,           defense      counsel      sought          a   local

evaluation but was unable to attain one.                             Because Kelly

does not oppose being transported, and committed, to a

Bureau    of     Prisons          facility         for        the    mental-health

evaluation,      no    due-process             concerns        are     raised.         See

Mosley, 2017 WL 4230221 at *5.



                                         ***



    Accordingly,            in    order       to     ensure         that    defendant

Robert John Kelly is not inappropriately punished for

having a disease, to assess accurately his culpability



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for      the     offense,        to        mete           out     any     necessary

rehabilitative          treatment,         and       to    verify       that   he    is

currently competent and was not insane at the time of

the     offense,     it    is   ORDERED          that       the    motion      for    a

mental-health evaluation (doc. no. 277) is granted as

follows:

       (1) Pursuant to the provisions of 18 U.S.C. § 4241

and §§ 4247(b) & (c), the United States Marshal for

this district shall immediately remove defendant Robert

John     Kelly     to     the    custody          of       the     warden      of    an

appropriate       institution         as       may    be    designated         by   the

Attorney General, where he is to be committed for the

purpose of being observed, examined, and treated by one

or more qualified psychiatrists or psychologists at the

institution.            The     statutory            time        period     for     the

examination shall commence on the day defendant Kelly

arrives at the designated institution.                            The examination

shall be conducted in the suitable facility closest to

the court, unless impracticable.




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     (2) Pursuant to 18 U.S.C. § 3552(b), the examining

psychiatrists or psychologists shall evaluate defendant

Kelly’s    psychological       condition     for    the   purposes       of

sentencing and shall include their findings in a report

to be presented to this court.

           (a) To assist the court in assessing defendant

Kelly’s culpability, the study shall discuss defendant

Kelly’s mental-health history and characteristics, and

shall particularly address (i) whether he suffers from

a   substance-abuse         disorder       and/or      other      mental

disorder(s) and if so, which one(s); (ii) what role, if

any, his substance-abuse disorder and/or other mental

disorder(s) played in his commission of the offenses

for which he now faces sentencing; and (iii) how his

substance-abuse          disorder        and/or       other       mental

disorder(s) impact his ability to refrain from using

illegal substances.

           (b) In addition to assessing whether defendant

Kelly has a substance-abuse or other mental disorder,

the study shall provide recommendations for treatment



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to be provided to defendant Kelly while on supervised

release.     The study should address, in light of his

failure to stay off drugs after treatment, his personal

characteristics,      history,     and      circumstances,       and    his

mental    health,   which    treatment       modalities,     treatment

settings, and supportive or other services are likely

to be most effective in helping defendant Kelly to stay

off of illegal drugs and to learn to respond to life

stressors   without     resorting      to    substance    abuse.         In

addition, the study should address whether defendant

Kelly would benefit from medication-assisted treatment,

or “MAT,” for his abuse of opioids.

    (3) Pursuant to 18 U.S.C. § 4241 and 4242, the

examining psychiatrists or psychologists shall evaluate

whether    defendant    Kelly     is   suffering     from    a    mental

disease or defect rendering him mentally incompetent to

the extent that he is unable to understand the nature

and consequences of the proceedings against him or to

assist properly in his defense, and whether defendant

Kelly was insane at the time of the offense.



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    (4)   Finally,      the   study    shall    discuss     any     other

matters    the    BOP     believes      are    pertinent       to       the

sentencing factors set forth in 18 U.S.C. § 3553(a).

    DONE, this the 15th day of November, 2017.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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